Case 3:20-cr-00283-N UMITEDSTATES.DISTRICE COURT, of 1 PagelD 51

NORTHERN DISTRICT OF TEXAS

 

 

 

 

 

 

 

 

 

 

 

DALLAS DIVISION
JUDGE: REBECCA RUTHERFORD
DEPUTY CLERK: _L. Price COURT REPORTER/TAPE NO: Shawn McRoberts
LAW CLERK: USPO/PTSO: _
INTERPRETER: COURT TIME: [0 Hip + ia,: A
AM. | P.M. DATE: June 10, 2020
L
Laas. NO. ODIST. CR. NO. 3:20-mj-00562-BN USDJ Magistrate Judge David L. Horan

UNITED STATES OF AMERICA

Vv.

 

PHILIP RUSSELL ARCHIBALD (1)

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NI f Fan £04 er , AUSA

__ Rachael Taft | E
COUNSEL FOR DEFENDANTS APPT -~ (A), Retd ~ (R), FPD - (F)

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CYNITIAL APPEARANCE COIDENTITY OBOND HEARING PRELIMINARY HEARING

DETENTION HEARING LICOUNSEL DETERMINATION HEARING CIREMOVAL HEARING CIEXTRADITION HEARING

CO HEARING CONTINUED ON CASE NO.
C) DATE OF FEDERAL ARREST/CUSTODY: [MISURRENDER
(RULE 5/32 CIAPPEARED ON WRIT

CIOTHER DISTRICT CMDIVISION

 

C) DEFT FIRST APPEARANCE. DEFT ADVISED OF RIGHTS/CHARGES CJPROBATION/SUPERVISED RELEASE VIOLATOR

(1) DEFT FIRST APPEARANCE WITH COUNSEL.

1) DEFT COOMW (MATERIAL WITNESS)

[1 REQUESTS APPOINTED COUNSEL.

C) FINANCIAL AFFIDAVIT EXECUTED.

C) ORDER APPOINTING FEDERAL PUBLIC DEFENDER.
[ PRIVATE COUNSEL APPOINTED

APPEARED CIWITH DO) WITHOUT COUNSEL

 

C) DEFT HAS RETAINED COUNSEL

 

CL) ARRAIGNMENT SET CIDETENTION HEARING SET

 

 

[ PRELIMINARY HEARING SET CIBOND HEARING SET

[) COUNSEL DETERMINATION HEARING SET

CO IDENTITY/REMOVAL HEARING SET

[1 BOND CSET CIREDUCED TO $ OICASH DO SURETY 010% O PR QUNS 03RD PTY OMW

(NO BOND SET AT THIS TIME, _ |_ DAY DETENTION ORDER TO BE ENTERED.

CYORDER OF TEMPORARY DETENTION/COMMITMENT PENDING HEARING ENTERED.
ORDER OF DETENTION PENDING TRIAL ENTERED.

1) DEFT ADVISED OF CONDITIONS OF RELEASE.

() BOND EXECUTED CODEFT MW RELEASED CISTATE AUTHORITIES COINS

ax DEFT CO.MW REMANDED TO CUSTODY.

€ DEFT ORDERED REMOVED TO ORIGINATING DISTRICT. ,
WAIVER OF OPRELIMINARY HEARING CIRULE 5/32 HEARING CIDETENTION HEARING

 

 

 

COURT FINDS PROBABLE CAUSE DID MPC. U.S. DISTRICT COURT
C DEFT FAILED TO APPEAR. ORAL ORDER FOR ISSUANCE OF BENCH WARRAQRTHERN DISTRICT OF TEXAS

 

 

[1 GOVERNMENT TQ NOTIFY FORE FONSULAR
(BREMARKS: -

JUN 10 2020

CLERK, US DISTRICT COURT
By _
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